OPINION — AG — ** MERIT SYSTEM — EXECUTIVE ORDER ** ONCE AN AGENCY IS PLACED UNDER THE MERIT SYSTEM BY AN EXECUTIVE ORDER PURSUANT TO 74 O.S. 1971 802 [74-802], IT MAY NOT BE REMOVED BY EXECUTIVE ORDER. SAID EXECUTIVE ORDER COVER FUNCTIONS, POSITIONS AND EMPLOYEES IN AN AGENCY AT THE TIME OF THE ORDER, AND FUNCTIONS, POSITIONS AND EMPLOYEES ADDED TO THE AGENCY SUBSEQUENT TO THE ORDER. A POSITION UNDER THE MERIT SYSTEM MAY NOT BE REMOVED FROM THE MERIT SYSTEM BY AN EXECUTIVE ORDER ISSUED PURSUANT OT 74 O.S. 1971 802 [74-802]. WHEN AN EXECUTIVE ORDER IS ISSUED EXEMPTING FROM THE MERIT SYSTEM NEW FUNCTIONS, SUCH EXECUTIVE ORDER IS CONTRARY TO 74 O.S. 1971 802 [74-802] AND UNLAWFUL. IF A PERSON WAS HIRED AS EXEMPT PURSUANT TO EXECUTIVE ORDER WHICH WAS LATER DECLARED IMPROPER WITHOUT EFFECT, THEN SAID POSITION MUST BE PROMPTLY FILLED UNDER MERIT SYSTEM RULES. THE PERSONNEL BOARD HAS NOT JURISDICTION TO DETERMINE WHETHER EMPLOYEES IN POSITIONS EXEMPTED FROM THE MERIT SYSTEM ARE ACTUALLY PERFORMING THE DUTIES WHICH CAN BE REASONABLY ASSUMED UNDER THE TITLE OF THE EXEMPTION. IT IS THE RESPONSIBILITY OF EACH INDIVIDUAL AGENCY TO HIRE, FIX THE DUTIES AND OVERSEE PERSONS FILLING ANY EXEMPT POSITIONS. CITE: 74 O.S. 1971 803 [74-803] (DANIEL J. GAMINO)